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                                          CHARTWELL STAFFING SERVICES INC.
                                      8

                                      9                       UNITED STATES DISTRICT COURT
                                     10        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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                                     11

                                     12 CHARTWELL STAFFING SERVICES                Case No.
                                          INC, a New York corporation,
                                     13                                            COMPLAINT FOR
                                     14                      Plaintiff,
                                                                                   (1) Violation of 18 U.S.C. § 1836
                                     15               v.
                                                                                   (2) Violation of Cal. Civ. Code § 3426
                                     16 ATLANTIC SOLUTIONS GROUP                       et seq.
                                          INC., a Delaware corporation, doing
                                     17
                                          business as EMPIRE WORKFORCE             (3) Inducing Breach of Contract
                                     18   SOLUTIONS; ADAM KIDAN, an
                                          individual; TONY ALANIS, an              (4) Intentional Interference with
                                     19   individual; ROSA BENAVIDES, an               Contractual Relations
                                          individual; KEVIN CASE, an
                                     20   individual; CATHY CLARK, an              (5) Breach of Contract
                                     21   individual; MARLENE CORNEJO, an
                                          individual; JAMIE DIAZ, an individual;   (6) Conversion
                                     22   DENISE GONZALES, an individual;
                                          PATRICIA HANKS, an individual;           (7) Breach of Fiduciary Duty
                                     23   IVETTELIS NIEVES, an individual;
                                          NICK REBULTAN, an individual; and        (8) Violation of Cal. Bus. & Prof. Code
                                     24
                                          DOES 1 through 10, inclusive,                § 17200 et seq.
                                     25
                                                             Defendants.
                                     26

                                     27

                                     28

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                                      1        Plaintiff Chartwell Staffing Services Inc. (“Chartwell”) complains and alleges
                                      2 as follows:

                                      3                                        PARTIES
                                      4        1.     Plaintiff Chartwell Staffing Services Inc. is a New York corporation
                                      5 doing business in the County of Los Angeles, California, with its principal place of

                                      6 business in Lancaster, Pennsylvania.

                                      7        2.     Upon information and belief, Atlantic Solutions Group Inc., doing
                                      8 business as Empire Workforce Solutions (“Empire”), is a Delaware corporation

                                      9 doing business in the County of San Bernardino, California, with its principal place

                                     10 of business in Ontario, California.
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                                     11        3.     Upon information and belief, Defendant Adam Kidan (“Kidan”) is an
                                     12 individual residing in the County of Los Angeles, California.

                                     13        4.     Upon information and belief, Defendant Tony Alanis (“Alanis”) is an
                                     14 individual residing in the County of Orange, California.

                                     15        5.     Upon information and belief, Defendant Rosa Benavides (“Benavides”)
                                     16 is an individual residing in the County of Los Angeles, California.

                                     17        6.     Upon information and belief, Kevin Case (“Case”) is an individual
                                     18 residing in the County of Ocean, New Jersey.
                                     19        7.     Upon information and belief, Cathy Clark (“Clark”) is an individual
                                     20 residing in the County of York, Pennsylvania.

                                     21        8.     Upon information and belief, Defendant Marlene Cornejo (“Cornejo”)
                                     22 is an individual residing in the County of Los Angeles, California.

                                     23        9.     Upon information and belief, Defendant Jamie Diaz (“Diaz”) is an
                                     24 individual residing in Pennsylvania.

                                     25        10.    Upon information and belief, Defendant Denise Gonzales (“Gonzales”)
                                     26 is an individual residing in the County of Los Angeles, California.

                                     27        11.    Upon information and belief, Defendant Patricia Hanks (“Hanks”) is an
                                     28 individual residing in the County of San Bernardino, California.

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                                      1        12.    Upon information and belief, Ivettelils Nieves (“Nieves”) is an
                                      2 individual residing in the County of Lancaster, Pennsylvania

                                      3        13.    Upon information and belief, Defendant Nick Rebultan (“Rebultan”) is
                                      4 an individual residing in the County of Orange, California.

                                      5        14.    Chartwell is ignorant of the true names and capacities of the defendants
                                      6 sued as Does 1 through 10, inclusive, and therefore sues these Doe defendants by

                                      7 such fictitious names. Chartwell will amend this complaint to allege their true names

                                      8 and capacities when ascertained. Chartwell alleges on information and belief that at

                                      9 all times herein defendants, and each of them, were the agents, alter egos, servants,

                                     10 and employees of each of the remaining defendants and acted within the scope and
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                                     11 course of such agency or employment.

                                     12                              JURISDICTION AND VENUE
                                     13        15.    This Court has jurisdiction over this action under 28 U.S.C. § 1331
                                     14 (federal question jurisdiction).

                                     15        16.    This Complaint arises out of Defendants’ violation of Defend Trade
                                     16 Secrets Act of 2016, 18 U.S.C. § 1836(b).

                                     17        17.    This Court also has supplemental jurisdiction over Plaintiff’s state law
                                     18 claims because they “are so related to the [federal] claims . . . that they form part of
                                     19 the same case or controversy . . . .” 28 U.S.C. § 1367.

                                     20        18.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)
                                     21 because a substantial part of the events or omissions giving rise to the claim

                                     22 occurred in this district.

                                     23                        FACTS COMMON TO EACH CLAIM
                                     24                                       Background
                                     25        19.    Adam Kidan is infamously known for his involvement with Jack
                                     26 Abramoff on the SunCruz Casinos deal. In 2005, Kidan pled guilty to conspiracy

                                     27 and fraud in connection with a fraudulent $23 million wire transfer, which he used

                                     28

                                                                                    2
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                                      1 to defraud investors. Kidan and Abramoff were ordered to pay restitution of more

                                      2 than $21 million. Kidan was released from prison in 2009.

                                      3        20.    In 2012, Adam Kidan began working for his wife at Chartwell, a
                                      4 national staffing agency which provides a variety of staffing services to its

                                      5 customers. Chartwell is one of the most successful woman owned staffing agencies

                                      6 in the country. Kidan’s wife was at all relevant times, and still is, the sole

                                      7 shareholder and owner of Chartwell. At no time did Kidan have an ownership

                                      8 interest in Chartwell.

                                      9        21.    From 2012 to March 8, 2019, Kidan was an officer of Chartwell. He
                                     10 served in various officer positions during that time, including Secretary, Vice
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                                     11 President, Chief Executive Officer, and President of Chartwell.

                                     12        22.    In 2015, Chartwell hired Rosa Benavides to serve as a Branch
                                     13 Manager. On February 23, 2015, Benavides entered into an Employment

                                     14 Agreement with Chartwell.

                                     15        23.    In 2015, Chartwell hired Patricia Hanks to serve as an Area Vice
                                     16 President of Operations. On December 14, 2015, Hanks entered into an

                                     17 Employment Agreement with Chartwell.

                                     18        24.    In 2015, Chartwell hired Ivettelis Nieves to serve as an Operations
                                     19 Manager. On December 15, 2015, Nieves entered into an Employment Agreement

                                     20 with Chartwell.

                                     21        25.    In 2016, Chartwell hired Kevin Case to serve as a Senior Vice
                                     22 President MSP/VMS. On January 4, 2016, Case entered into an Employment

                                     23 Agreement with Chartwell. In 2017, he was promoted to Chief Growth Officer.

                                     24        26.    In 2016, Chartwell hired Tony Alanis to serve as an Area Vice
                                     25 President of Operations. On February 2, 2016, Alanis entered into an Employment

                                     26 Agreement with Chartwell.

                                     27

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                                      1       27.    In 2016, Chartwell hired Marlene Cornejo to serve as a Staffing
                                      2 Specialist. On February 9, 2016, Cornejo entered into an Employment Agreement

                                      3 with Chartwell. In 2017, she was promoted to Branch Manager.

                                      4       28.    In 2016, Chartwell hired Cathy Clark to serve as a Business
                                      5 Development Manager. On June 6, 2016, Clark entered into an Employment

                                      6 Agreement with Chartwell.

                                      7       29.    In 2012, Chartwell hired Jamie Diaz to serve as a Vice President of
                                      8 Administration. On June 2, 2017, Diaz entered into an Employment Agreement

                                      9 with Chartwell.

                                     10       30.    In 2017, Chartwell hired Denise Gonzalez to serve as a Staffing
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                                     11 Specialist. In July 2017, Gonzalez entered into an Employment Agreement with

                                     12 Chartwell.

                                     13       31.    In 2017, Chartwell hired Nicolas Rebultan to serve as a Staffing
                                     14 Specialist. On October 2, 2017, Rebultan entered into an Employment Agreement

                                     15 with Chartwell.

                                     16       32.    Benavides’, Hanks’, Nieves’, Case’s, Alanis’, and Cornejo’s
                                     17 Employment Agreements all state, in relevant part:

                                     18       5. Confidentiality and Trade Secrets
                                     19             Employee acknowledges that the manuals, methods, forms,
                                              techniques and systems which Employer owns, plans or develops,
                                     20       whether for its own use or for use by or with its clients, are
                                              confidential trade secrets and are the property of Employer.
                                     21
                                                     Employee further acknowledges that [he or she] will obtain
                                     22       access to confidential information concerning Employer’s clients,
                                              including their business affairs, special needs, preferred methods of
                                     23       doing business, methods of operation, key contact personnel and
                                              other data, all of which provides Employer with a competitive
                                     24       advantage and none of which is readily available except to
                                              employees of Employer.
                                     25
                                                     Employee further acknowledges that [he or she] will obtain
                                     26       access to the names, addresses, telephone numbers, qualifications,
                                              education, accomplishments, experience, availability, resumes and
                                     27       other data regarding persons who have applied or been recruited
                                              for temporary or permanent employment by Employer, as well as
                                     28       job order specifications and the particular characteristics and
                                                                                 4
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                                      1          requirements of persons generally hired by a client, specific job
                                                 listings, mailing lists, computer runoffs, financial and other
                                      2          information, all of which provides Employer with a competitive
                                                 advantage and none of which is readily available except to
                                      3          employees of Employer.
                                      4                Employee agrees that all of the foregoing information
                                                 regarding Employer’s methods, clients and employees constitutes
                                      5          valuable and proprietary trade secrets and confidential information
                                                 of Employer (hereinafter “Confidential Information”).
                                      6
                                                 6. Non-Disclosure Agreement
                                      7
                                                       Employee agrees that except as directed by Employer, the
                                      8          Employee will not at any time, whether during or after [his or her]
                                                 employment with the Employer, use for any reason or disclose to
                                      9          any person any of the Employer’s Confidential Information or
                                                 permit any person to examine and/or make copies of any
                                     10          documents which may contain or are derived from Confidential
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                                                 Information, whether prepared by the Employee or otherwise,
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                                     11          without the prior written permission of Employer.
                                     12          33.      Hanks’ Nieves’, Case’s, Alanis’, and Cornejo’s Employment
                                     13 Agreements further state, in relevant part:

                                     14          7. Agreement Not to Compete for Accounts or Personnel
                                     15                 Employee agrees that during [his or her] employment with
                                                 Employer and/or the twelve (12) months after such employment is
                                     16          terminated by either party, she will not: directly or indirectly,
                                                 contact, solicit, divert, take away or attempt to contact, solicit,
                                     17          divert or take away any staff employee, temporary personnel,
                                                 customer, account, business or goodwill from Employer, either for
                                     18          Employee’s own benefit, some other person or entity, and will not
                                                 aid or assist any other person or entity to engage in any such
                                     19          activities. Such shall cover the geographic area where the
                                                 employee conducted business during his employment.
                                     20
                                                 34.      Clark’s, Diaz’s, Gonzalez’s, and Rebultan’s Employment Agreements
                                     21
                                          state, in relevant part:
                                     22
                                                 4. Restrictive Covenants.
                                     23
                                                       (a) Confidential Information Defined. Employee acknowledges
                                     24                    that the manuals, methods, forms, techniques, and systems
                                                           which the Company owns, plans or develops, whether for its
                                     25                    own use or for use by or with its clients, are confidential
                                                           trade secrets and are the property of the Company.
                                     26                    Employee further acknowledges that s/he will obtain access
                                                           to confidential information concerning the Company and its
                                     27                    clients, including their business affairs, special needs,
                                                           preferred methods of doing business, methods of operation,
                                     28                    key contact personnel and other data, all of which provides

                                                                                      5
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                                      1                  the Company with a competitive advantage and none of
                                                         which is readily available except to employees of the
                                      2                  Company. Employee further acknowledges that s/he will
                                                         obtain access to the names, addresses, telephone numbers,
                                      3                  qualifications, education, accomplishments, experience,
                                                         availability, resumes and other data regarding persons who
                                      4                  have applied or been recruited for temporary or permanent
                                                         employment by the Company, as well as job order
                                      5                  specifications and the particular characteristics and
                                                         requirements of persons generally hired by a client, specific
                                      6                  job listings, mailing lists, computer runoffs, financial and
                                                         other information, all of which provides the Company with a
                                      7                  competitive advantage and none of which is readily
                                                         available except to employees of the Company. Employee
                                      8                  agrees that all of the foregoing information regarding the
                                                         Company’s methods, clients and employees constitutes
                                      9                  valuable and proprietary trade secrets and confidential
                                                         information of the Company and/or its clients and
                                     10                  employees (hereinafter “Confidential Information”).
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                                     11               (b) Non-Disclosure of Confidential Information. Employee
                                                          agrees that except as directed by the Company, s/he will not
                                     12                   at any time, whether during or after his/her employment
                                                          with the Company, use for any reason or disclose to any
                                     13                   person, any Confidential Information, or permit any person
                                                          to examine and/or make copies of any documents or
                                     14                   electronic files which may contain or are derived from
                                                          Confidential Information, whether prepared by the
                                     15                   Employee or otherwise, without the prior written permission
                                                          of the Company.
                                     16
                                                      (c) Non-Solicitation of Employees and Independent
                                     17                   Contractors. Employee acknowledges that important factors
                                                          in Company’s business and operations are the loyalty and
                                     18                   goodwill of its staff employees, associate employees, and
                                                          independent contractors. Accordingly, Employee agrees
                                     19                   that during the term of this Agreement and for a period of
                                                          twelve (12) months following the termination of the
                                     20                   Agreement (the “Non-Solicitation Period”), s/he will not
                                                          disrupt or interfere with the business of the Company by
                                     21                   actively soliciting, recruiting, or raiding any staff employee
                                                          or temporary associate or otherwise inducing the termination
                                     22                   of employment of any employee of the Company either for
                                                          Employee’s own benefit or the benefit of some other person
                                     23                   or entity, and will not aid or assist any other person or entity
                                                          to engage in any such activities. Employee also agrees and
                                     24                   covenants not to use the Company’s Confidential
                                                          Information to directly or indirectly solicit employees of the
                                     25                   Company. . . .
                                     26         35.      Clark’s, and Diaz’s Employment Agreement further states, in relevant
                                     27 part:

                                     28

                                                                                       6
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                                      1                  (d) Agreement Not to Compete for Accounts or Personnel.
                                                             Employee shall not prepare for, undertake, or discuss with
                                      2                      other employees of the Company any business or
                                                             professional employment of any kind which is competitive
                                      3                      with the Company. Employee also agrees that during the
                                                             term of this Agreement and twelve (12) months following its
                                      4                      termination by either Party (the “Non-Compete Period”),
                                                             he/she will not . . . directly or indirectly, contact, solicit,
                                      5                      divert, take away or attempt to contact, solicit, divert or take
                                                             away any staff employee, temporary personnel, customer,
                                      6                      account, business or goodwill from the Company, either for
                                                             the Employee’s own benefit or some other person or entity,
                                      7                      and will not aid or assist any other person or entity to engage
                                                             in any such activities. Such shall cover the geographic area
                                      8                      where the employee conducted business during his/her
                                                             employment. . . .
                                      9

                                     10            36.      Each of the Employment Agreements further contains an attorneys’
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                                     11 fees provision. Benavides’, Hanks’ Nieves’, Case’s, Alanis’, and Cornejo’s

                                     12 Employment Agreements state:

                                     13            10. Legal Fees. In the event of any dispute arising out of the
                                                   subject matter of this Agreement, the prevailing party shall
                                     14            recover, in addition to any other damages assessed, its attorneys’
                                                   fees and court costs incurred in litigating or otherwise settling or
                                     15            resolving such dispute, whether or not an action is brought or
                                                   prosecuted to judgment.
                                     16
                                                   37.      Clark’s, Diaz’s, Gonzalez’s, and Rebultan’s Employment Agreements
                                     17
                                          state:
                                     18
                                                   6. Attorney’s Fees. In the event of any dispute arising out of the
                                     19            subject matter of this Agreement, the prevailing party shall
                                                   recover, in addition to the damages assessed, its/her attorneys’
                                     20            fees, arbitrator’s fees, and court costs incurred in litigating,
                                                   arbitrating, or otherwise settling or resolving such dispute, whether
                                     21            or not an action is brought or prosecuted to judgment. If any legal
                                                   or equitable action, including an action for declaratory relief, is
                                     22            brought to enforce or interpret the provisions of this Agreement,
                                                   the prevailing Party shall be entitled to reasonable attorneys’ fees
                                     23            and costs, in addition to any other relief to which that Party may be
                                                   entitled.
                                     24
                                                                       Kidan’s Embezzlement and Fraud.
                                     25
                                                   38.      Although Kidan served in various officer positions during his tenure
                                     26
                                          with Chartwell, he abused his position by defrauding Chartwell and embezzling
                                     27
                                          funds for his own personal use.
                                     28

                                                                                          7
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                                      1        39.    In 2017, Kidan withdrew approximately $12,000 in increments of $100
                                      2 to $500 from Chartwell’s debit account for personal use. He never repaid the

                                      3 amounts he took from Chartwell’s account.

                                      4        40.    In 2017, Kidan also received a pay advance of $30,000.00. Kidan was
                                      5 to repay $500 every week until the advance was repaid. Kidan stopped making

                                      6 payments, and still owes Chartwell a balance of $16,000.00.

                                      7        41.    From at least 2015 to March 8, 2019, Kidan routinely used Chartwell
                                      8 credit cards and funds to pay for his personal expenses. Specifically, in 2018, Kidan

                                      9 expensed approximately $76,764.71 of his personal expenses, including Porsche

                                     10 lease payments of $2,258.76 per month and purchases from Tiffany & Co and
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                                     11 Jimmy Choo, along with countless cash withdrawals. Despite Chartwell’s demands,

                                     12 Kidan has failed to repay the amounts owed.

                                     13        42.    Further, from January 2017 to January 2018, Kidan placed Elizabeth
                                     14 Harris on Chartwell’s payroll. Upon information and belief, Ms. Harris had a

                                     15 romantic relationship with Kidan.

                                     16        43.    Ms. Harris has never worked for Chartwell. Chartwell paid Ms. Harris
                                     17 approximately $95,230.20 in gross wages from January 2017 to January 2018.

                                     18        44.    In March 2019, Chartwell discovered that Kidan had borrowed money
                                     19 from various entities offering cash advances, claiming, among other things, that he

                                     20 had an ownership interest in Chartwell to induce those entities to lend money to

                                     21 Chartwell. Kidan took these cash advances, with extremely high interest rates, and

                                     22 used the proceeds for his own personal expenses.

                                     23        45.    Specifically, Kidan represented to Straight Line Source, a loan broker,
                                     24 that he was the “Owner” of Chartwell, to obtain a merchant cash advance to receive

                                     25 an advance of $404,630, to be paid back in the amount of $578,620.90.

                                     26        46.    Kidan further represented to TVT Capital that he had an ownership
                                     27 interest in Chartwell, presenting a fraudulent certificate for 200 shares of Chartwell,

                                     28 to obtain a cash advance.

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                                       1        47.   Chartwell was forced to repay a sum of $578,620.90 as a result of the
                                       2 cash advances Kidan obtained under the auspices of acting as an officer of

                                       3 Chartwell.

                                       4                            Empire Workforce Solutions.
                                       5        48.   On or about November 7, 2018, while still acting as the President of
                                       6 Chartwell, Kidan incorporated Empire in the state of Delaware. Kidan is the Chief

                                       7 Executive Officer and Chief Financial Officer of Empire.

                                       8        49.   Beginning in January 2018, to March 2019, Kidan actively solicited
                                       9 employees of Chartwell to leave Chartwell with Kidan, and work for Empire.

                                      10        50.   Specifically, Kidan met with and spoke to employees, while still
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                                      11 working as an officer for Chartwell, and attempted to induce them to join his new

                                      12 company. Adam held at least two meetings at hotels where he asked employees to

                                      13 meet him and then tried to solicit them to work for Empire: one at the Shade Hotel

                                      14 in Manhattan Beach on or about February 15, 2019, and one at the Viceroy in Santa

                                      15 Monica on or about February 16, 2019.

                                      16        51.   On or about March 5, 2019, Empire registered with the California
                                      17 Secretary of State to do business in California.

                                      18        52.   On March 6, 2019, at approximately 8:00 p.m., while on paid time off,
                                      19 Diaz logged into Chartwell’s database containing Chartwell’s list of customers and

                                      20 list of temporary employees Chartwell placed with customers. Upon information

                                      21 and belief, Diaz downloaded the information from Chartwell’s database and saved it

                                      22 on her personal device. Upon information and belief, Diaz improperly transmitted

                                      23 the information from the database, without Chartwell’s knowledge or consent. Diaz

                                      24 resigned from Chartwell two days later, and began working for Empire.

                                      25        53.   On March 8, 2019, Kidan resigned as President of Chartwell. As a
                                      26 result of Kidan’s solicitation efforts, six employees - Diaz, Alanis, Benavides,

                                      27 Cornejo, Gonzales, Hanks - terminated their employment with Chartwell on March

                                      28 8, 2019.

                                                                                   9
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                                       1        54.   Upon information and belief, Diaz acted in concert with and at the
                                       2 direction of Empire, Kidan, Alanis, Benavides, Hanks, Cornejo, and Gonzales in

                                       3 improperly accessing and transmitting trade secret information belonging to

                                       4 Chartwell.

                                       5        55.   Upon information and belief, Diaz, Alanis, Benavides, Hanks, Cornejo,
                                       6 and Gonzales each immediately began working for Empire.

                                       7        56.   Kidan, Diaz, Alanis, Benavides, Hanks, Cornejo, and Gonzales, on
                                       8 behalf of Empire, all conspired to solicit other employees from Chartwell.

                                       9        57.   As a direct result of their efforts, on March 15, 2019, Claudia Garcia,
                                      10 Mayra Nava, Yadira Rodriguez, and Nick Rebultan resigned from their positions at
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                                      11 Chartwell. On or about March 22, 2019, Kevin Case, Yadira Trejo, Stephanie

                                      12 Hernandez, Ivettelis Nieves, Azsane’a Holland, Kelly Slagle, and Cathy Clark

                                      13 resigned from their positions at Chartwell.

                                      14        58.   Upon information and belief, each of these former employees
                                      15 immediately began working for Empire.

                                      16        59.   Upon information and belief, Nieves, Rebultan, Case, and Clark have
                                      17 also solicited and/or conspired to solicit current employees of Chartwell to leave

                                      18 Chartwell and work for Empire.
                                      19               Solicitation of Customers and Temporary Employees.
                                      20        60.   Upon information and belief, Chartwell alleges Defendants have been
                                      21 contacting customers of Chartwell to solicit their business and to terminate their

                                      22 contracts with Chartwell.

                                      23        61.   Specifically, on or about March 15, 2019, Benavides and Cornejo
                                      24 visited Revolve Clothing, a customer of Chartwell, where approximately 32

                                      25 Chartwell employees worked. Benavides and Cornejo arranged for meetings with

                                      26 small groups of Chartwell employees at Revolve Clothing, whereby they handed out

                                      27 Empire employment applications to Chartwell employees. Benavides and Cornejo

                                      28 informed the Chartwell employees that they were no longer with Chartwell, and did

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                                       1 not want to leave the Chartwell employees at Revolve Clothing “behind.” The

                                       2 Chartwell employees were cornered and encouraged to complete the Empire

                                       3 employment applications.

                                       4         62.   As a direct result of Benavides and Cornejo’s meetings with the
                                       5 Chartwell employees placed at Revolve Clothing, no less than 9 Chartwell

                                       6 employees terminated their employment with Chartwell. Upon information and

                                       7 belief, Chartwell alleges each of these employees immediately began working for

                                       8 Empire.

                                       9         63.   On or about March 19, 2019, Cornejo and another Empire employee
                                      10 visited a job site of Granitize Products, Inc., another client of Chartwell, where
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                                      11 approximately 4 Chartwell employees worked. Cornejo and the other Empire

                                      12 employee made false representations to the Chartwell employees that Chartwell was

                                      13 “going under” and that if they wanted to keep their jobs, they needed to fill out the

                                      14 applications and begin working for Empire.

                                      15         64.   On or about March 20, 2019, Cornejo, Rebultan, Alanis, and another
                                      16 Empire employee returned to the Granitize job site, where they again claimed

                                      17 Chartwell would soon be out of business, and told the Chartwell employees that they

                                      18 should join Empire if they wanted to keep their jobs at Granitize.
                                      19         65.   Around the same time, Gonzalez also visited Caplugs, another
                                      20 Chartwell customer, where she met with Chartwell employees and asked them to fill

                                      21 out Empire employment applications if they wanted to continue working there.

                                      22         66.   Hanks has contacted current customers of Chartwell, including but not
                                      23 limited to Aquamar, Inc. to solicit business for Empire.

                                      24         67.   Nieves, Case, and Clark have also sent email correspondence to current
                                      25 customers of Chartwell, in an attempt to solicit their business for Empire.

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                                       1              FIRST CLAIM FOR VIOLATION OF 18 U.S.C. § 1836
                                       2                                (Defend Trade Secrets Act)
                                       3                   (Chartwell Against All Defendants and Does 1-10)
                                       4        68.      Chartwell realleges and incorporates by this reference paragraphs 1-67
                                       5 of this complaint.

                                       6        69.      Chartwell owns confidential information not available to the public,
                                       7 including but not limited to Chartwell’s customer lists, including information

                                       8 relating to customers’ business affairs, special needs, preferred methods of doing

                                       9 business, methods of operation, key contact personnel, job order specifications and

                                      10 the particular characteristics and requirements of persons generally hired by a client,
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                                      11 specific job listings, mailing lists, computer runoffs, financial and other information;

                                      12 employee information, including the names, addresses, telephone numbers,

                                      13 qualifications, education, accomplishments, experience, availability, resumes and

                                      14 other data regarding persons who have applied or been recruited for temporary or

                                      15 permanent employment; as well as Chartwell’s manuals, methods, forms, techniques

                                      16 and systems, developed for its own use and/or use by its customers (collectively, the

                                      17 “Confidential Trade Secret Information”).

                                      18        70.      The Confidential Trade Secret Information is and was a trade secret
                                      19 belonging to Chartwell at all relevant times.

                                      20        71.      The Confidential Trade Secret Information also relates to services used
                                      21 in, or intended for use in, interstate commerce. Specifically, Chartwell works with

                                      22 clients in multiple states. Chartwell routinely assigns employees to customer jobs

                                      23 located across state lines.

                                      24        72.      Defendants misappropriated Confidential Trade Secret Information
                                      25 belonging to Chartwell, without Chartwell’s consent or authorization by, among

                                      26 other things:

                                      27        (a)      Improperly downloading or otherwise taking Chartwell’s customer list
                                      28                 and employee list from Chartwell’s database without Chartwell’s

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                                       1               knowledge or consent, using the internet, from Pennsylvania, for use in
                                       2               California among other states;
                                       3        (b)    Communicating with customers of Chartwell, for the primary purpose
                                       4               of inducing customers to terminate their contracts with Chartwell and
                                       5               soliciting their business for the benefit of Empire;
                                       6        (c)    Communicating with employees of Chartwell, for the primary purpose
                                       7               of soliciting their employment with Empire; and
                                       8        (d)    Otherwise using Chartwell’s Confidential Information for Empire.
                                       9        73.    As a direct result of Defendants’ conduct, Chartwell was harmed in an
                                      10 amount to be proven at trial. Further, Defendants were unjustly enriched by
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                                      11 obtaining business using Confidential Trade Secret Information they improperly

                                      12 acquired.

                                      13        74.    As a further result of the foregoing misappropriation, Chartwell has
                                      14 incurred attorneys’ fees and costs, and will continue to incur attorneys’ fee and costs

                                      15 in an amount to be proven at trial.

                                      16        75.    In doing the acts alleged in this Complaint, Defendants acted with
                                      17 oppression, fraud, and/or malice, therefore entitling Plaintiff to punitive damages.

                                      18        76.    Chartwell further seeks injunctive relief, enjoining Defendant from
                                      19 using the Confidential Information in any manner.

                                      20   SECOND CLAIM FOR VIOLATION OF CAL. CIV. CODE § 3426 ET SEQ.
                                      21                       (California Uniform Trade Secrets Act)
                                      22                  (Chartwell against All Defendants and Does 1-10)
                                      23        77.    Chartwell realleges and incorporates by this reference paragraphs 1-76
                                      24 of this complaint.

                                      25        78.    Chartwell owns confidential information not available to the public,
                                      26 including but not limited to Chartwell’s customer lists, including information

                                      27 relating to customers’ business affairs, special needs, preferred methods of doing

                                      28 business, methods of operation, key contact personnel, job order specifications and

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                                       1 the particular characteristics and requirements of persons generally hired by a client,

                                       2 specific job listings, mailing lists, computer runoffs, financial and other information;

                                       3 employee information, including the names, addresses, telephone numbers,

                                       4 qualifications, education, accomplishments, experience, availability, resumes and

                                       5 other data regarding persons who have applied or been recruited for temporary or

                                       6 permanent employment; as well as Chartwell’s manuals, methods, forms, techniques

                                       7 and systems, developed for its own use and/or use by its customers (collectively, the

                                       8 “Confidential Trade Secret Information”).

                                       9        79.      The Confidential Trade Secret Information is and was a trade secret
                                      10 belonging to Chartwell at all relevant times.
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                                      11        80.      Defendants misappropriated Confidential Trade Secret Information
                                      12 belonging to Chartwell, without Chartwell’s consent or authorization by, among

                                      13 other things:

                                      14        (e)      Improperly taking Chartwell’s customer list and employee list from
                                      15                 Chartwell’s database without Chartwell’s knowledge or consent;
                                      16        (f)      Communicating with customers of Chartwell, for the primary purpose
                                      17                 of inducing customers to terminate their contracts with Chartwell and
                                      18                 solicit their business for the benefit of Kidan;
                                      19        (g)      Communicating with employees of Chartwell, for the primary purpose
                                      20                 of soliciting their employment with Kidan; and
                                      21        (h)      Otherwise using Chartwell’s Confidential Information for Kidan, doing
                                      22                 business as Empire.
                                      23        81.      As a direct result of Defendants’ conduct, Chartwell was harmed in an
                                      24 amount to be proven at trial. Further, defendants were unjustly enriched by

                                      25 obtaining business using Confidential Information they improperly acquired.

                                      26        82.      As a further result of the foregoing misappropriation, Chartwell has
                                      27 incurred attorneys’ fees and costs, and will continue to incur attorneys’ fee and costs

                                      28 in an amount to be proven at trial.

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                                       1        83.   In doing the acts alleged in this Complaint, Defendants acted with
                                       2 oppression, fraud, and/or malice as defined in Civil Code section 3294, therefore

                                       3 entitling Plaintiff to punitive damages.

                                       4        84.   Chartwell further seeks injunctive relief, enjoining Defendants from
                                       5 using the Confidential Trade Secret Information in any manner.

                                       6          THIRD CLAIM FOR INDUCING BREACH OF CONTRACT
                                       7                 (Chartwell against Empire, Kidan and DOES 1-5)
                                       8        85.   Chartwell realleges and incorporates by this reference paragraphs 1-84
                                       9 of this complaint.

                                      10        86.   Chartwell had valid Employment Agreements with Alanis, Benavides,
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                                      11 Case, Clark, Cornejo, Diaz, Gonzales, Hanks, Nieves, and Rebultan. Knowing each

                                      12 of these defendants had a valid contract with Chartwell, Kidan and Empire, intended

                                      13 to cause each of them to breach their respective Employment Agreements by:

                                      14        (a)   Taking Confidential Trade Secret Information without Chartwell’s
                                      15              knowledge or consent;
                                      16        (b)   Using Confidential Trade Secret Information without Chartwell’s
                                      17              knowledge or consent;
                                      18        (c)   Soliciting employees of Chartwell for the benefit of Kidan and his
                                      19              company, Empire; and
                                      20        (d)   Soliciting customers of Chartwell for the benefit of Kidan and his
                                      21              company, Empire.
                                      22        87.   Kidan and Empire’s conduct caused Alanis, Benavides, Case, Clark,
                                      23 Cornejo, Diaz, Gonzales, Hanks, Nieves, and Rebultan, and each of them, to breach

                                      24 their Employment Agreements with Chartwell.

                                      25        88.   As a direct result of Kidan and Empire’s actions, Chartwell was harmed
                                      26 in an amount to be proven at trial.

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                                       1        89.    In doing the acts alleged in this Complaint, Kidan and Empire acted
                                       2 with oppression, fraud, and/or malice as defined in Civil Code section 3294,

                                       3 therefore entitling Chartwell to punitive damages.

                                       4        FOURTH CLAIM FOR INTENTIONAL INTERFERENCE WITH
                                       5                           CONTRACTUAL RELATIONS
                                       6                 (Chartwell against All Defendants and DOES 1-10)
                                       7        90.    Chartwell realleges and incorporates by this reference paragraphs 1-89
                                       8 of this complaint.

                                       9        91.    Chartwell had a valid contract with Revolve Clothing (“Revolve”),
                                      10 Granitize Products, Inc. (“Granitize”), and Caplugs, whereby Chartwell placed
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                                      11 temporary employees with Revolve, Granitize, and Caplugs.

                                      12        92.    Chartwell further has or had valid contracts with employees placed on
                                      13 temporary assignments at Revolve, Granitize, and Caplugs.

                                      14        93.    Defendants, knowing Chartwell had a valid contract with Revolve
                                      15 Granitize, and Caplugs, contacted Revolve, Granitize, and Caplugs to terminate its

                                      16 contract with Chartwell and begin a business relationship with Empire.

                                      17        94.    On or about March 15, 2019, Benavides and Cornejo visited Revolve
                                      18 Clothing, a customer of Chartwell, where approximately 32 Chartwell employees
                                      19 worked. Benavides and Cornejo arranged for meetings with small groups of

                                      20 Chartwell employees at Revolve Clothing, whereby they handed out Empire

                                      21 employment applications to Chartwell employees. Benavides and Cornejo informed

                                      22 the Chartwell employees that they were no longer with Chartwell, and did not want

                                      23 to leave the Chartwell employees at Revolve Clothing “behind.” The Chartwell

                                      24 employees were encouraged to complete the Empire employment applications.

                                      25        95.    On or about March 19, 2019, Cornejo and another Empire employee
                                      26 visited a job site of Granitize Products, Inc., another client of Chartwell, where

                                      27 approximately 4 Chartwell employees worked. Cornejo and the other Empire

                                      28 employee made false representations to the Chartwell employees that Chartwell was

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                                       1 “going under” and that if they wanted to keep their jobs, they needed to fill out the

                                       2 Empire applications.

                                       3           96.   On or about March 20, 2019, Cornejo, Rebultan, Alanis, and another
                                       4 Empire employee returned to the Granitize job site, where they again claimed

                                       5 Chartwell would soon be out of business, and that the Chartwell employees should

                                       6 join Empire if they wanted to keep their jobs at Granitize.

                                       7           97.   Around the same time, Gonzalez also visited Caplugs, another
                                       8 Chartwell customer, where she met with Chartwell employees and asked them to fill

                                       9 out Empire employment applications if they wanted to continue working there.

                                      10           98.   Hanks has contacted current customers of Chartwell, including but not
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                                      11 limited to Aquamar, Inc. to solicit business for Empire.

                                      12           99.   Nieves, Case, and Clark have also sent email correspondence to current
                                      13 customers of Chartwell, in an attempt to solicit their business for Empire.

                                      14           100. Upon information and belief, Defendants also contacted other
                                      15 customers of Chartwell, including but not limited to Stepstone and Cal Western, to

                                      16 solicit their business and convince Chartwell employees working there to terminate

                                      17 their employment with Chartwell and work for Empire.

                                      18           101. Defendants intended to disrupt Chartwell’s contractual relationship
                                      19 with Chartwell’s customers, including Revolve, Granitize, Caplugs, Stepstone, Cal

                                      20 Western, and Aquamar, or knew disruption was certain or substantially certain to

                                      21 occur.

                                      22           102. Defendants further intended to disrupt Chartwell’s contractual
                                      23 relationship with the Chartwell employees at Revolve, Granitize, Caplugs,

                                      24 Stepstone, Cal Western, and Aquamar, or knew disruption was certain or

                                      25 substantially certain to occur.

                                      26           103. As a direct result of Defendants’ actions, Chartwell was harmed as a
                                      27 result.

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                                       1        104. In doing the acts alleged in this Complaint, Defendants acted with
                                       2 oppression, fraud, and/or malice as defined in Civil Code section 3294, therefore

                                       3 entitling Chartwell to punitive damages.

                                       4                 FIFTH CLAIM FOR BREACH OF CONTRACT
                                       5   (Chartwell against Alanis, Benavides, Case, Clark, Cornejo, Diaz, Gonzales,
                                       6                      Hanks, Nieves, Rebultan, and DOES 6-10)
                                       7        105. Chartwell realleges and incorporates by this reference paragraphs 1-104
                                       8 of this complaint.

                                       9        106. Alanis, Benavides, Case, Clark, Cornejo, Diaz, Gonzales, Hanks,
                                      10 Nieves, and Rebultan each entered into an Employment Agreement with Chartwell.
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                                      11        107. Chartwell performed all conditions and obligations on its part under
                                      12 each respective Employment Agreement mentioned herein.

                                      13        108. On March 6, 2019, two days before her resignation from Chartwell and
                                      14 while on vacation, Diaz logged into Chartwell’s database containing Confidential

                                      15 Trade Secret Information, including Chartwell’s list of customers and list of

                                      16 temporary employees Chartwell placed with customers.

                                      17        109. Upon information and belief, Chartwell alleges Diaz improperly
                                      18 transmitted the information from the database, without Chartwell’s knowledge or
                                      19 consent.

                                      20        110. Upon information and belief, Chartwell alleges Alanis, Benavides,
                                      21 Case, Clark, Cornejo, Gonzales, Hanks, Nieves, and Rebultan in concert with Diaz

                                      22 in accessing Chartwell’s database and downloading information from the database

                                      23 without Chartwell’s knowledge or consent.

                                      24        111. Upon information and belief, Chartwell alleges Alanis, Benavides,
                                      25 Case, Clark, Cornejo, Diaz, Gonzales, Hanks, Nieves, and Rebultan have been

                                      26 contacting customers of Chartwell to solicit their business and to terminate their

                                      27 contracts with Chartwell.

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                                       1        112. On or about March 15, 2019, Benavides and Cornejo visited Revolve
                                       2 Clothing, a customer of Chartwell, where approximately 32 Chartwell employees

                                       3 worked. Benavides and Cornejo arranged for meetings with small groups of

                                       4 Chartwell employees at Revolve Clothing, whereby they handed out Empire

                                       5 employment applications to Chartwell employees. Benavides and Cornejo informed

                                       6 the Chartwell employees that they were no longer with Chartwell, and did not want

                                       7 to leave the Chartwell employees at Revolve Clothing “behind.” The Chartwell

                                       8 employees were encouraged to complete the Empire employment applications.

                                       9        113. On or about March 19, 2019, Cornejo and another Empire employee
                                      10 visited a job site of Granitize Products, Inc., another client of Chartwell, where
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                                      11 approximately 4 Chartwell employees worked. Cornejo and the other Empire

                                      12 employee made false representations to the Chartwell employees that Chartwell was

                                      13 “going under” and that if they wanted to keep their jobs, they needed to fill out the

                                      14 Empire applications.

                                      15        114. On or about March 20, 2019, Cornejo, Rebultan, Alanis, and another
                                      16 Empire employee returned to the Granitize job site, where they again claimed

                                      17 Chartwell would soon be out of business, and that the Chartwell employees should

                                      18 join Empire if they wanted to keep their jobs at Granitize.
                                      19        115. Around the same time, Gonzalez also visited Caplugs, another
                                      20 Chartwell customer, where she met with Chartwell employees and asked them to fill

                                      21 out Empire employment applications if they wanted to continue working there.

                                      22        116. Upon information and belief, Chartwell alleges all of the defendants
                                      23 named herein acted in concert with each other in meeting with Chartwell employees

                                      24 at Revolve, Granitize, and Caplugs, and promulgating false statements regarding the

                                      25 financial status of Chartwell in an attempt to coerce Chartwell employees to

                                      26 terminate their contracts with Chartwell and work for Empire.

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                                       1        117. Alanis, Benavides, Case, Clark, Cornejo, Diaz, Gonzales, Hanks,
                                       2 Nieves, and Rebultan, and each breached their respective Employment Agreements

                                       3 with Chartwell, by, among other things:

                                       4        (a)   Taking Confidential Trade Secret Information, as defined in their
                                       5              respective Employment Agreements, without Chartwell’s knowledge or
                                       6              consent;
                                       7        (b)   Using Confidential Trade Secret Information, as defined in their
                                       8              respective Employment Agreements, without Chartwell’s knowledge or
                                       9              consent;
                                      10        (c)   Soliciting employees of Chartwell for the benefit of Kidan; and
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                                      11        (d)   Soliciting customers of Chartwell for the benefit of Kidan.
                                      12        118. As a direct result of the breaches of Alanis, Benavides, Case, Clark,
                                      13 Cornejo, Diaz, Gonzales, Hanks, Nieves, and Rebultan, Chartwell has suffered

                                      14 damages and requests damages as a result of this breach, in an amount to be proven

                                      15 at trial. Chartwell estimates damages of no less than $800,000, as a result of

                                      16 defendants’ breach of their Employment Agreements. Chartwell is further entitled

                                      17 to an award of attorneys’ fees and costs pursuant to Section 11 of the Employment

                                      18 Agreements with Benavides, Hanks, Nieves, Case, Alanis, and Cornejo; and Section
                                      19 6 of the Employment Agreements with Diaz, Gonzalez, Clark and Rebultan.

                                      20                         SIXTH CLAIM FOR CONVERSION
                                      21                      (Chartwell against Kidan and DOES 1-5)
                                      22        119. Chartwell realleges and incorporates by this reference paragraphs 1-118
                                      23 of this complaint.

                                      24        120. Kidan, in his capacity as an officer of Chartwell, took money from
                                      25 Chartwell, using Chartwell funds to pay for his personal expenses and to pay a

                                      26 woman with whom he was allegedly romantically involved. Specifically:

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                                       1           a. In 2017, Kidan withdrew approximately $12,000 in increments of $100
                                       2               to $500 from Chartwell’s debit account for personal use. He never
                                       3               repaid the amounts he took from Chartwell’s accounts.
                                       4           b. In 2017, Kidan received a pay advance of $30,000.00. Kidan was to
                                       5               repay $500 every week until the advance was repaid. Kidan stopped
                                       6               making payments, and still owes Chartwell a balance of $16,000.00.
                                       7           c. From at least 2015 to March 8, 2019, Kidan routinely used Chartwell
                                       8               credit cards and funds to pay for his personal expenses. Specifically, in
                                       9               2018, Kidan expensed approximately $76,764.71 of his personal
                                      10               expenses, including Porsche lease payments of $2,258.76 per month
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                                      11               and purchases from Tiffany & Co and Jimmy Choo, and countless cash
                                      12               withdrawals. Despite Chartwell’s demands, Kidan has failed to pay the
                                      13               amounts owed.
                                      14           d. From January 2017 to January 2018, Kidan placed Elizabeth Harris on
                                      15               Chartwell’s payroll. Upon information and belief, Ms. Harris had a
                                      16               romantic relationship with Kidan. Ms. Harris has never worked for
                                      17               Chartwell. Chartwell paid Ms. Harris approximately $95,230.20 in
                                      18               gross wages from January 2017 to January 2018.
                                      19        121. As a result, Kidan intentionally and substantially interfered with
                                      20 Chartwell’s use of its personal property.

                                      21        122. Chartwell did not consent to Kidan’s use of its money for his personal
                                      22 expenses, or to pay another person who was not employed by, nor did any work for,

                                      23 Chartwell.

                                      24        123. As a direct result of Kidan’s actions, Chartwell was harmed in an
                                      25 amount to be proven at trial. Chartwell estimates damages of no less than $500,000

                                      26 as a result of Kidan’s theft.

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                                       1           SEVENTH CLAIM FOR BREACH OF FIDUCIARY DUTY
                                       2                      (Chartwell against Kidan and DOES 1-5)
                                       3        124. Chartwell realleges and incorporates by this reference paragraphs 1-123
                                       4 of this complaint.

                                       5        125. As an officer of Chartwell, Kidan owed a fiduciary duty of loyalty and
                                       6 confidentiality to Chartwell. Kidan’s fiduciary duties include a duty to act with the

                                       7 utmost good faith in the best interest of Chartwell.

                                       8        126. Kidan knowingly acted against Chartwell’s interests in soliciting
                                       9 employees of Chartwell to resign from Chartwell with him, while he was still acting

                                      10 as an officer of Chartwell. He further induced those employees to breach their
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                                      11 contracts with Chartwell and terminate their employment with Chartwell.

                                      12        127. Kidan knowingly acted against Chartwell’s interest in embezzling
                                      13 money from Chartwell’s accounts, and fraudulently using Chartwell’s accounts to

                                      14 pay for his personal expenses.

                                      15        128. In 2017, Kidan withdrew approximately $12,000 in increments of $100
                                      16 to $500 from Chartwell’s debit account for personal use. He never repaid the

                                      17 amounts he took from Chartwell’s accounts.

                                      18        129. In 2017, Kidan also received a pay advance of $30,000.00. Kidan was
                                      19 to repay $500 every week until the advance was repaid. Kidan stopped making

                                      20 payments, and still owes Chartwell a balance of $16,000.00.

                                      21        130. From at least 2015 to March 8, 2019, Kidan routinely used Chartwell
                                      22 credit cards and funds to pay for his personal expenses. Specifically, in 2018, Kidan

                                      23 expensed approximately $76,764.71 of his personal expenses, including Porsche

                                      24 lease payments of $2,258.76 per month and purchases from Tiffany & Co and

                                      25 Jimmy Choo, and countless cash withdrawals. Despite Chartwell’s demands, Kidan

                                      26 has failed to pay the amounts owed.

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                                       1        131. Further, from January 2017 to January 2018, Kidan placed Elizabeth
                                       2 Harris on Chartwell’s payroll. Upon information and belief, Ms. Harris had a

                                       3 romantic relationship with Kidan.

                                       4        132. Ms. Harris has never worked for Chartwell. Chartwell paid Ms. Harris
                                       5 approximately $95,230.20 in gross wages from January 2017 to January 2018.

                                       6        133. In March 2019, Chartwell discovered that Kidan had borrowed money
                                       7 from various entities offering cash advances, claiming, among other things, that he

                                       8 had an ownership interest in Chartwell to induce those entities to lend money to

                                       9 Chartwell. Kidan took these cash advances, with extremely high interest rates, and

                                      10 used the proceeds for his own personal expenses.
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                                      11        134. Specifically, Kidan represented to Straight Line Source, a loan broker,
                                      12 that he was the “Owner” of Chartwell, to obtain a merchant credit loan.

                                      13        135. Kidan further represented to TVT Capital that he had an ownership
                                      14 interest in Chartwell, presenting a fraudulent certificate for 200 shares of Chartwell,

                                      15 to obtain a cash advance.

                                      16        136. Chartwell was forced to repay a sum of $578,620.90, for a cash
                                      17 advance of $404,630 Kidan obtained under the auspices of acting as an officer of

                                      18 Chartwell.
                                      19        137. Further, Kidan knowingly acted against Chartwell’s interest in directing
                                      20 other Defendants named herein to aid and abet him in soliciting employees and

                                      21 customers by, among other things, taking and using Confidential Trade Secret

                                      22 Information belonging to Chartwell without its knowledge or consent, and

                                      23 promulgating defamatory statements regarding Chartwell’s financial stability to

                                      24 solicit employees and customers of Chartwell.

                                      25        138. Chartwell did not give consent, let alone informed consent, to Kidan’s
                                      26 conduct.

                                      27        139. As a direct result of Kidan’s conduct, Chartwell was harmed in an
                                      28 amount to be proven at trial, but no less than $1,000,000.

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                                       1        140. Chartwell further seeks injunctive relief, enjoining Kidan from (a)
                                       2 soliciting, and conspiring to solicit, any customers using confidential, trade secret

                                       3 information belonging to Chartwell; and (b) promulgating, or conspiring to

                                       4 promulgate, defamatory statements regarding Chartwell’s financial stability, or any

                                       5 other false statements regarding Chartwell, to solicit customers and/or employees of

                                       6 Chartwell.

                                       7        141. In doing the acts alleged in this Complaint, Defendants acted with
                                       8 oppression, fraud, and/or malice, therefore entitling Plaintiff to punitive damages.

                                       9   EIGHTH CLAIM FOR VIOLATION OF BUSINESS AND PROFESSIONS
                                      10                           CODE SECTION 17200 ET SEQ.
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                                      11                           (Chartwell against All Defendants)
                                      12        142. Chartwell realleges and incorporates by this reference paragraphs 1-141
                                      13 of this complaint.

                                      14        143. Defendants’ conduct constitutes unlawful, unfair, and/or fraudulent
                                      15 business practices in violation of the Business and Professions Code section 17200

                                      16 et seq. Defendants have engaged in unlawful, unfair, and/or fraudulent business

                                      17 practices by, among other things:

                                      18        (a)    Breaching the Employment Agreements;
                                      19        (b)    Intentionally interfering with Chartwell’s contracts with current
                                      20               customers and employees by, among other things, promulgating false
                                      21               statements regarding Chartwell’s financial condition;
                                      22        (c)    Inducing other employees to breach their Employment Agreements
                                      23               with Chartwell;
                                      24        (d)    Using Chartwell’s accounts to pay for personal expenses; and
                                      25        (e)    Breaching fiduciary duties of loyalty and confidentiality.
                                      26        144. As a direct and proximate result of Defendants’ conduct, Chartwell is
                                      27 entitled to restitution in an amount to be proven at trial and/or injunctive relief.

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                                                                                 COMPLAINT
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                                       1                                      PRAYER
                                       2       Chartwell prays for judgment against Defendants as follows:
                                       3       1.     For an Order enjoining Defendants from:
                                       4              (a)   soliciting, and conspiring to solicit, any customers using
                                       5 Confidential, Trade Secret Information belonging to Chartwell; and

                                       6              (b)   soliciting, and conspiring to solicit, any current employees of
                                       7 Chartwell using Confidential Trade Secret Information belonging to Chartwell;

                                       8       2.     For restitution of all amounts Defendants improperly obtained;
                                       9       3.     For damages in an amount to be proven at trial, including but not
                                      10              limited to pre- and post-judgment interest;
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 Irvine, California 92612-4414




                                      11       5.     For punitive damages as a result of Defendants’ fraudulent, malicious
                                      12              and/or oppressive conduct;
                                      13       6.     For attorneys’ fees and costs, where allowed; and
                                      14       7.     For such other relief as the Court may deem just and proper.
                                      15 Dated: April 4, 2019                Aileen M. Hunter
                                      16                                     Traci G. Choi
                                                                             BRYAN CAVE LEIGHTON PAISNER LLP
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                                                                             By: /s/ Traci G. Choi
                                      19                                          Traci G. Choi
                                                                             Attorneys for Plaintiff
                                      20                                     CHARTWELL STAFFING SERVICES INC.
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                                                                               COMPLAINT
